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                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                                :            CRIMINAL CASE NO.
                                                        :            13-CR-00019 (JCH)
        v.                                              :
                                                        :
JESSE C. LITVAK,                                        :            JUNE 28, 2016
     Defendant.                                         :


     RULING RE: MOTIONS IN LIMINE (DOC. NOS. 356, 357, 358, 367, 369 & 372)

I.      INTRODUCTION

        In accordance with the court’s Scheduling Order, see Scheduling Order (Doc.

No. 318), the parties in this case filed numerous Motions in limine on May 12, 2016.

Responses to the Motions in limine were due on May 26, 2016, and Replies were filed

on or before June 2, 2016. See id. The parties subsequently filed two Notices of

Stipulation, see Notice of Stipulation (Doc. No. 389); Notice of Am. Stipulation (Doc. No.

408), which, per the request of the parties, resulted in the court terminating as moot four

of the filed Motions in limine, see Order (Doc. No. 401) (terminating as moot Motions in

limine docketed at Doc. Nos. 365, 368, and 373); Order (Doc. Nos. 417, 431)

(terminating as moot the Motion in limine docketed at Doc. No. 370).

        The court held oral argument on the remaining Motions in limine on June 16,

2016. See Minute Entry (Doc. No. 430). At that hearing, the court ruled from the bench

on a number of the pending Motions, primarily those the parties conceded were mooted

by virtue of the parties’ agreement.1 See id. The court will take up all of the Motions in



          1 For example, two of the Motions in limine were mooted by the fact that the parties agreed, but

for the fact that defendant Jesse Litvak (“Litvak”) wanted to reserve his right to offer evidence in rebuttal if
the government “opens the door” to particular lines of argument. Because the court believes that events
at trial may make it necessary to revisit any evidentiary Ruling, the court does not believe that an explicit

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limine that remain pending in this Ruling. At the outset, the court notes that this Ruling

is based on the record currently before the court.

II.     DISCUSSION

        A.      Litvak’s Motion in limine to Exclude Evidence that He Acted as an “Agent”
                or “Broker” for Counterparties (Doc. No. 356)

        Litvak has filed a Motion in limine seeking to exclude testimony by witnesses and

argument by the government that he acted as an agent of his counterparties in the

residential mortgage-backed security (RMBS) trades described in the Indictment. See

Mem. of Law in Supp. of Def.’s Mot. in limine to Exclude Evidence that Mr. Litvak Acted

as an “Agent” or “Broker” for Counterparties at 1 (“Def.’s Agent/Broker Mem.”) (Doc. No.

356-1). In this same Motion, Litvak also seeks to exclude the government and its

witnesses from referring to Litvak as a “broker.” Id. at 8. The government filed an

Opposition to Litvak’s Motion, see Gov’t’s Opp. to Def.’s Mot. in limine to Exclude

Evidence that Litvak Acted as an “Agent” or “Broker” (“Gov’t’s Agent/Broker Opp.”)

(Doc. No. 387), to which Litvak timely replied, see Jesse C. Litvak’s Reply in Supp. of

the Mot. in limine to Exclude Evidence that Litvak Acted as an “Agent” or “Broker”

(“Def.’s Agent/Broker Reply”) (Doc. No. 412). The parties argued their respective

positions on this Motion at length during the oral argument held on June 16, 2016. See

Minute Entry (Doc. No. 430). For the reasons that follow, the court now grants in part

and denies in part Litvak’s Motion.




reservation of the right to argue that the government has opened the door to certain lines of inquiry and
testimony is necessary. Nonetheless, at oral argument on the Motions in limine, the court noted that
Litvak had explicitly reserved this right and terminated these Motions as moot in light of the parties’
agreement. See Minute Entry (Doc. No. 430).

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       Litvak’s primary argument in this Motion is that, pursuant to Rules 401, 403, and

701 of the Federal Rules of Evidence, the government should be prohibited from (1)

arguing that Litvak was an agent of the counterparties to the RMBS trades at issue in

this case, and (2) eliciting testimony from witnesses that they understood Litvak to be

acting as their agent during these trades. Much of Litvak’s support for this Motion

comes from the fact that, before the Second Circuit, the government “conceded that

Litvak was acting exclusively as a principal, and not as an agent, in the transactions at

issue in this case.” United States v. Litvak, 808 F.3d 160, 187 n.32 (2d Cir. 2015).

Therefore, he argues that any reference to “agents” or “agency” in front of the jury would

be confusing and prejudicial. Def.’s Agent/Broker Mem. at 4 (Doc. No. 356). He also

argues that permitting witnesses called by the government to testify that they

understood Litvak to be operating as their agent would be improper under Rule 701.

See id. at 6. In response, the government argues that, although “[t]here has never been

any dispute that, as a legal matter, firms like Jefferies are ‘dealers’ engaged in ‘principal’

trades that have no fiduciary duties to their counter-parties,” the court should not bar

government witnesses from testifying as to what they “understood [their] relationship

with Litvak to be, based on the facts of their interaction.” Gov’t’s Agent/Broker Opp. at

1, 2 (Doc. No. 387). According to the government, such testimony is factual, not legal,

in nature. Id. at 4.

       Given the government’s concession that, as a matter of law, Litvak was not an

agent of the counterparties during the RMBS trades at issue in this case, it would be

highly improper for the government to argue to the jury that Litvak was an agent of the

counterparties. The government does not dispute this point. Thus, to the extent



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Litvak’s Motion seeks to preclude the government from arguing to the jury, directly or by

analogy, that Litvak was actually an agent of the counterparties during the RMBS

trades, that part of the Motion is granted absent objection.

        However, the court denies the part of Litvak’s Motion that seeks to preclude

witnesses from testifying about their perception of the relationship between Litvak and

themselves, even if, in the course of such testimony, they colloquially say that they

understood Litvak to be their “agent.” Such testimony is both relevant and probative,2

as it could plausibly be part of the government’s efforts to “establish the materiality of

the information Litvak misrepresented,” and could likewise “contribute[ ] to the inference

that Litvak was acting with fraudulent intent.” Gov’t’s Agent/Broker Opp. at 9 (Doc. No.

387). Furthermore, because these witnesses are testifying to their own point of view—

i.e., what they understood their relationship to Litvak to be, based on the events leading

up to these trades as they experienced them—this testimony is unlikely to confuse the

jury or to be unduly prejudicial to Litvak, and any confusion or prejudice that could result

can be ameliorated by cross-examination of the witnesses, the testimony of an expert

witness for the defense, instruction to the jury that the witness’s testimony is not the law,

or all three. Because the testimony of witnesses for the government about their

perceptions is (1) relevant, and (2) more probative than prejudicial, the evidence at

issue is admissible under Rules 401 and 403 of the Federal Rules of Evidence.




         2 As the Second Circuit noted while holding that Marc Menchel should have been permitted to

testify on “the agent/principal distinction” at the first trial, “[t]he nature of Litvak’s relationship with the
alleged victims formed the context in which the jury had to consider whether the portfolio managers and
traders who testified reflected the views of a reasonable investor.” Litvak, 808 F.3d at 187.

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       Nor should the evidence at issue be excluded as improper lay opinion testimony

under Rule 701, as Litvak urges. In support of this argument, Litvak cites United States

v. Garcia for the proposition that, “[i]f [a lay] opinion rests ‘in any way’ upon scientific,

technical, or other specialized knowledge, its admissibility must be determined by

reference to Rule 702, not Rule 701.” Garcia, 413 F.3d 201, 215 (2d Cir. 2005) (citation

omitted). Litvak argues that allowing lay witnesses to testify about their understanding

of their relationship to Litvak runs afoul of this principal because “testifying about the

legal status of the relationship between Mr. Litvak and his counterparties requires

‘specialized knowledge.’” Def.’s Agent/Broker Reply at 4 (Doc. No. 412). In this

argument, Litvak conflates evidence of what the legal status of the relationship between

himself and the counterparties actually was (e.g., what that relationship was as a matter

of law) with evidence about how the counterparties perceived their relationship with

Litvak to be. While the former may rely on “scientific, technical, or other specialized

knowledge,” Garcia, 413 F.3d at 215, the latter does not. As noted above, no one

disputes that, as a matter of law, Litvak was not the agent of his counterparties. That

fact does not mean that individual counterparty witnesses are offering impermissible lay

opinion testimony when they state that, based upon their experience of events and facts

relevant to this case, they understood Litvak to be working on their behalf, even if, in the

course of that testimony, they use the word “agent” in its colloquial sense to describe

their understanding. Because the testimony the government seeks to offer about these

witnesses’ view of their relationship to Litvak is “rationally based on the witness’s

perception,” “helpful to clearly understanding the witness’s testimony or to determining a

fact in issue,” and “not based on scientific, technical, or other specialized knowledge



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within the scope of Rule 702,” Fed. R. Evid. 701, this testimony is admissible under

Rule 701. Litvak’s Motion in limine on this point is denied.

       The court also denies Litvak’s Motion to preclude the government and witnesses

from referring to Litvak as a “broker.” As the government argues—and Litvak

concedes—at the last trial the term “broker” and Litvak’s preferred term of “dealer” were

often used interchangeably. See Def.’s Agent/Broker Reply at 5 (Doc. No. 412). In light

of this fact, Litvak concedes that he “does not ask the Court to take on the burden of

policing witnesses’ use of these terms[, n]or does he ask that all references to the term

‘broker’ be stricken from documentary evidence.” Id. According to Litvak, he seeks

merely to have “the government use the proper terminology in referring to Mr. Litvak’s

role.” Id. However, the court sees little reason to police the government’s use of a term

that Litvak concedes would not be prejudicial in the mouths of witnesses or on the face

of the government’s documentary evidence, especially when the government will likely

want to refer to the testimony of those witnesses and the content of those documents in

their original language. To the extent Litvak wants to draw out the distinction between

dealers and brokers—and the importance of that distinction for this case—he can do so

through cross-examination of the witnesses or the presentation of expert testimony.

Any residual prejudice that could arise from jurors importing their understanding of what

a “broker” is from their experiences in their day-to-day lives can be cured, if necessary,

by an instruction to the jury, either at the time of the testimony or prior to their

deliberations. For these reasons, the court concludes that use of the term “broker” in

this case is permissible under Rule 401 and is not excludable under Rule 403 (in

particular, because use of the term is not unfairly prejudicial, confusing, or misleading to



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the jury), and therefore denies Litvak’s Motion in limine to exclude references to Litvak

as a “broker” at trial.

       In sum, this Motion in limine is granted in part and denied in part. The

government will not be permitted to argue that Litvak was the agent of his

counterparties as a matter of law, but witnesses will be permitted to testify to their

understanding that Litvak was working on their behalf during the trades at issue in this

lawsuit even if, in the course of such testimony, they colloquially refer to Litvak as their

“agent.” In addition, witnesses and the government will be permitted to refer to Litvak

as a “broker” or “broker-dealer.”

       B.      Litvak’s Motion in limine to Exclude Evidence about the Identity of
               Investors in Counterparty Funds (Doc. No. 357)

       Litvak has filed a Motion in limine seeking to exclude “any evidence about the

identity of any of the investors in the funds managed by Mr. Litvak’s counterparties,

including, but not limited to, the federal government.” Mem. of Law in Supp. of Def.’s

Mot. in limine to Exclude Evidence about the Identity of Investors in Counterparty Funds

at 2 (“Def.’s Investor Identity Mem.”) (Doc. No. 357-1). In this same Motion, Litvak also

asks the court to strike “surplusage” in the Indictment “relating to the identity of investors

in the counterparty funds.” Id. at 9. The government filed an Opposition to Litvak’s

Motion, see Gov’t’s Opp. to Def.’s Mot. in limine to Exclude Evidence of Alleged Victims’

Investors (“Gov’t’s Investor Identity Opp.”) (Doc. No. 386), to which Litvak timely replied,

see Jesse C. Litvak’s Reply in Supp. of the Mot. in limine to Exclude Evidence about the

Identity of Investors in Counterparty Funds (“Def.’s Investor Identity Reply”) (Doc. No.

409). The parties argued their respective positions on this Motion during the oral




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argument held on June 16, 2016. See Minute Entry (Doc. No. 430). For the reasons

that follow, the court now grants in part and denies in part Litvak’s Motion.

        Much of Litvak’s Motion to exclude references to the identity of investors in

counterparty funds focuses on his concern that it would be unduly prejudicial for the

government to refer to the money at issue as “taxpayer funds.” Def.’s Investor Identity

Mem. at 1 (Doc. No. 357-1). In its Opposition to Litvak’s Motion, and again at oral

argument, the government conceded that it would be prejudicial to refer to the funds at

issue as being comprised of “taxpayer money,” and therefore stipulated3 that it “will not

refer to ‘taxpayers’ in its opening or closing statements, and will instruct its witnesses

not to use that term.” Gov’t’s Investor Identity Opp. at 2 (Doc. No. 386). Thus, the

portion of Litvak’s Motion that seeks to preclude the government from employing the

word “taxpayer” (or related concepts, such as arguing to the jury about “your money”) in

its argument and evidence is granted absent objection.

        The remaining portions of this Motion in limine seek two different kinds of relief:

(1) to prevent the government from presenting any evidence about the identity of

investors in counterparty funds and, in particular, any references to the money at issue

as government money, and (2) to strike “surplusage” in the Indictment related to the

identity of investors in counterparty funds. See Def.’s Investor Identity Mem. at 8-9

(Doc. No. 357-1).




         3 Even if the government had not stipulated that it would be improper to use the phrase “taxpayer

funds” in argument or in evidence, the court would have granted Litvak’s Motion and excluded the use of
this term pursuant to Rule 403 on the grounds that its probative value is substantially outweighed by its
prejudicial effect.

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       With respect to the first kind of relief sought, Litvak argues that, because the

Second Circuit reversed on insufficiency of evidence grounds his conviction on the

counts related to alleged fraud against the United States, see Litvak, 808 F.3d at 169,

references to the identity of investors in counterparty funds lack any probative value and

carry a significant risk of unfair prejudice. See Def.’s Investor Identity Mem. at 5-6 (Doc.

No. 357-1). Thus, Litvak argues that any references to the identity of investors should

be excluded under Rules 401 and 403 of the Federal Rules of Evidence. In support of

his argument, Litvak cites a string of cases that he says stand for the proposition that

“appeals to the jurors’ interests as taxpayers are improper per se.” Id. at 8. Although

Litvak may be correct on that point, the government has already conceded that use of

the word “taxpayer” and references to “taxpayer funds” would be unfairly prejudicial in

this case. What Litvak is really asking this court to find is that the cases he cites stand

for the proposition that all references to government money are improper per se—which

they do not. Notably, each of the cases Litvak cites involve an attorney making an effort

to personalize the alleged harm caused by a party to jurors (in their role as taxpayers) in

a very concrete way. See United States v. Lotsch, 102 F.2d 35, 37 (2d Cir. 1939)

(noting that the prosecutor said that, “since the United States guaranteed bank deposits,

the money lent to these borrowers came out of the jurors’ pockets”); see also Moore ex

rel. Estate of Grady v. Tuelja, 546 F.3d 423, 429 (7th Cir. 2008) (noting that, during

closing argument, an attorney said, “[t]he city is not a random amorphous entity. It’s

you. We’re talking about tax dollars here.”); United States v. Palma, 473 F.3d 899, 901

(8th Cir. 2007) (stating that the prosecutor improperly invoked the pecuniary interests of

jurors as taxpayers when, in closing, he said that the defendant “got money from you



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and you and you and you and these folks back here that he did not disclose”); United

States v. Blecker, 657 F.2d 629, 635-36 (4th Cir. 1981) (stating that prosecutor told the

jury that, “while [the defendant] paid his employees at one rate, ‘we had to pay more,’”

which was arguably “an appeal to the pecuniary interests of the jurors as taxpayers”);

United States v. Smyth, 556 F.2d 1179, 1185 (5th Cir. 1977) (noting that, in his closing

argument, the prosecutor said “that’s your tax money, that’s your tax money being

kicked in here”). At oral argument, Litvak admitted that he was aware of no cases that

stand for the proposition that any reference to government money or Treasury money,

without further efforts to personalize the harm to the jurors as taxpayers, violate the

“golden rule” that parties may not “ask[ ] the jurors to place themselves in the position of

a party.” Palma, 473 F.3d at 902.

       In response to Litvak’s Motion, the government argues that some evidence

related to the identity of investors in counterparty funds is “relevant because [it] tend[s]

to establish the context and certain elements of the scheme to defraud.” Gov’t’s

Investor Identity Opp. at 3 (Doc. No. 386). The government offers the testimony at the

first trial of counterparty Michael Canter as an example. See id. Canter was a Public-

Private Investment Fund (“PPIF”) Manager who “applied to invest that money for

Treasury, and accepted special obligations to Treasury which [he] took seriously.” Id. at

2. At the first trial, Canter recounted his reaction to finding out that Litvak had made

misrepresentations in trades with him; according to Canter, he called Litvak and said

“[A]re you freaking crazy doing this to the United States Treasury Department. Because

of this, I’m going to have to report this.” Id. at 3 (quoting Trial Tr. at 390:15-391:1). The

government contends that testimony of this kind is necessary to understand the context



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in which Litvak’s alleged misrepresentations were made and received, and that this

evidence tends to prove the materiality of the misrepresentations. The government

argues this evidence “poses little risk of actual—rather than hypothetical—prejudice to

Litvak.” Id. at 4.

        As the Second Circuit noted, Rule 401 establishes a very low bar for relevance.

See Litvak, 808 F.3d at 179-80. To be relevant, evidence need only (a) have “any

tendency to make a fact more or less probable than it would be without the evidence,”

and (b) support a fact that “is of consequence in determining the action.” Fed. R. Evid.

401. The government’s proposed evidence concerning the identity of investors in

counterparty funds easily passes this bar. The court agrees with the government that

testimony such as Canter’s at the first trial provides relevant context for the

government’s theory of Litvak’s “scheme to defraud,” Gov’t’s Investor Identity Opp. at 2

(Doc. No. 386), and, in particular, that this context has a tendency to make it more

probable that the alleged misstatements were material to counterparties like Canter.4

        Furthermore, evidence such as Canter’s testimony at the first trial that he was

working with government money is more probative than prejudicial, and is thus

admissible under Rule 403. In making this determination, the court notes that it views

the possible prejudice to Litvak from the government using turns of phrase like

“government money” to be exceedingly slight. As the government points out, “jurors are



        4 In reaching this conclusion, the court acknowledges that “materiality is an objective question.”
United States v. Isola, 548 F. App’x 723, 725 (2d Cir. 2013) (summary order). However, the government
appears to be attempting to prove this element by casting Canter and other counterparties as
paradigmatic reasonable investors. To the extent that Litvak believes that the fact that counterparties like
Canter were working with government funds undermines the view that they were reasonable investors
(or, more precisely, that their reactions to, and view of, Litvak’s alleged misrepresentations were thus not
the reactions and views of reasonable investors), he can draw out that fact in cross-examination or
through the introduction of expert testimony.

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just as likely to have a low opinion or negative views of the federal government as they

are to identify with it simply because they are citizens or possibly taxpayers.” Gov’t’s

Investor Identity Opp. at 4 (Doc. No. 386). More importantly, numerous inferential steps

are required for a juror to connect “government money” to “taxpayer money,” and

“taxpayer money” to “my money,” and thus to personalize the harm alleged by the

government in a way that is prejudicial to Litvak. It is perhaps for this reason that Litvak

has been unable to produce a single case in which a court found that use of a phrase

like “government money” or “Treasury money” violated the golden rule. Any prejudice to

Litvak from introduction of testimony like that of Canter is outweighed by the probative

value of the evidence as discussed above. Thus, this evidence is admissible under

Rule 403. The court denies Litvak’s Motion to exclude all references to the identity of

investors in counterparty funds.

       The second form of relief sought by Litvak in this Motion is the striking of

“surplusage in the Indictment relating to the identity of investors in the counterparty

funds.” Def.’s Investor Identity Mem. at 9 (Doc. No. 357-1). The government concedes

that, given the dismissal of some of the counts in the original Indictment, several

paragraphs should be removed from the beginning of that document. See Gov’t’s

Investor Identity Opp. at 6 (Doc. No. 386). Litvak contends that the government’s

proposed deletions are incomplete, and asks the court to strike an additional three

paragraphs defining and explaining PPIFs and PPIF Managers at the beginning of the

Indictment, every subsequent reference to the identity of investors in counterparty

funds, and the text of the counts involving alleged fraud on the United States that were




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dismissed due to insufficiency of evidence by the Second Circuit. See Def.’s Investor

Identity Reply at 5 (Doc. No. 409).

       The standard for assessing Motions to strike surplusage from Indictments is well-

settled in the Second Circuit. “Motions to strike surplusage from an indictment will be

granted only where the challenged allegations are not relevant to the crime charged and

are inflammatory and prejudicial.” United States v. Mulder, 273 F.3d 91, 99 (2d Cir.

2001) (quoting United States v. Scarpa, 913 F.2d 993, 1013 (2d Cir. 1990)). “If

evidence of the allegation is admissible and relevant to the charge, then regardless of

how prejudicial the language is, it may not be stricken.” Scarpa, 913 F.2d at 1013

(internal quotations, alterations, and citation omitted). In this case, it is clear that the

text related to the dismissed counts should be stricken, because the parties agree that

the dismissed counts are not relevant to the retrial. In fact, the government filed a

Motion in limine seeking to preclude Litvak from referring to the dismissed counts, see

Gov’t’s Mot. in limine to Preclude Reference to Dismissed Counts (Doc. No. 366), which

was terminated as moot at oral argument on the pending Motions in light of the parties’

agreement that reference to the dismissed counts is not appropriate, see Minute Entry

(Doc. No. 430). Furthermore, leaving the dismissed counts in the Indictment would be

“inflammatory and prejudicial,” Scarpa, 913 F.2d at 1013, in light of the fact that Litvak

will not have the opportunity to explain to the jury that these counts were dismissed due

to insufficiency of evidence. For these reasons, the court grants Litvak’s request to

strike the text of the dismissed counts from the Indictment.

       In contrast to the text of the dismissed counts, the other text that Litvak wishes to

strike from the Indictment is relevant, and therefore should remain in that document. As



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noted above, the other text is introductory definitional material about PPIF and PPIF

Managers and occasional references to the identity of investors in counterparty funds.

The court has already determined that this material is relevant to the government’s

theory of materiality and therefore admissible under Rule 401, and that the prejudice to

Litvak from the introduction of this evidence, if it exists at all, is slight. See supra at 10-

11. Because “the challenged allegations” are “relevant to the crime charged,” and are

also not unduly “inflammatory and prejudicial,” they should not be struck from the

Indictment. Scarpa, 913 F.2d at 1013 (internal quotations and citation omitted). This

part of Litvak’s request to strike is denied.

       In sum, Litvak’s Motion to preclude references to the identity of investors in

counterparty funds and to strike surplusage from the Indictment is granted in part and

denied in part. The court grants, absent objection, Litvak’s request that the government

be barred from referring to any of the money at issue as “taxpayer money.” The court

denies Litvak’s request that all other references to the identity of investors in

counterparty funds be excluded. The court also grants Litvak’s request that portions of

the Indictment be stricken: in particular, the sections of the Indictment the parties agree

should be stricken, as well as the text of the dismissed counts, must be removed

because that text is not relevant and is unduly prejudicial. The court denies Litvak’s

request to strike three of the Indictment’s introductory paragraphs related to PPIF and

PPIF Managers (¶¶ 5, 7, and 8), as well as the Indictment’s subsequent references (in

¶¶ 11-12, 37, 39-46, and 49-54) to the identities of investors in counterparty funds. The

parties are directed to prepare a new Indictment that conforms to the above

specifications and docket it within fourteen (14) days of the date of this Ruling.



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       C.     Litvak’s Motion in limine to Exclude Evidence and Argument about his
              Compensation (Doc. No. 358)

       Litvak has filed a Motion in limine seeking to exclude evidence and argument

related to his compensation. See Mem. of Law in Supp. of Def.’s Mot. in limine to

Exclude Evidence and Argument Regarding Mr. Litvak’s Compensation (“Def.’s

Compensation Mem.”) (Doc. No. 358-1). The government filed an Opposition to Litvak’s

Motion, see Gov’t’s Opp. to Def.’s Mot. in limine to Exclude Litvak’s Compensation

(“Gov’t’s Compensation Opp.”) (Doc. No. 388), to which Litvak timely replied, see Jesse

C. Litvak’s Reply in Supp. of the Mot. in limine to Exclude Evidence and Argument

Regarding Mr. Litvak’s Compensation (“Def.’s Compensation Reply”) (Doc. No. 410).

The parties argued their respective positions on this Motion during the oral argument

held on June 16, 2016. See Minute Entry (Doc. No. 430). For the reasons that follow,

the court now grants in part and denies in part Litvak’s Motion.

       Litvak’s Reply makes clear that this Motion in limine requests two narrow forms

of relief: “to preclude the government from (1) making misleading statements conflating

the revenue of his former employer, Jefferies & Co., with his own compensation; and (2)

introducing evidence about his total compensation in any of the years he worked at

Jefferies.” Def.’s Compensation Reply at 1 (Doc. No. 410). Litvak also states that he is

not seeking to preclude the government from presenting “evidence of a ‘profit motive,’”

i.e., evidence that would tend to show that Litvak benefitted financially from his alleged

misrepresentations. Id. at 3. Litvak contends he is entitled to the Ruling he seeks

under Rules 401 and 403 of the Federal Rules of Evidence, as well as under the Due

Process Clause of the Fifth Amendment. See Jesse Litvak’s Mot. in limine to Exclude




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Evidence and Argument Regarding Mr. Litvak’s Compensation (Doc. No. 358). The

court will consider each of Litvak’s requests in turn.

       The first form of relief sought by Litvak specifically asks that the government and

its witnesses be barred from referring to the profits on trades conducted by Litvak as

“his profits,” because Litvak contends that “[a]ny suggestion that proceeds from the

trades at issue went directly into Mr. Litvak’s pocket . . . has no basis in fact and can

only confuse the jury.” Def.’s Compensation Mem. at 4 (Doc. No. 358-1). In its

Opposition and again at oral argument, the government contended that referring to

profits on trades as the profits of an individual trader is industry shorthand; everyone

understands that the profits on a given trade do not go directly into the trader’s pocket,

which means that referring to the profits on a trade as the trader’s profits, while

technically inaccurate, is “innocuous.” Gov’t’s Compensation Opp. at 4-5 (Doc. No.

388). The government also conceded that it could not, and would not, argue as a

matter of fact that Litvak retained every dollar of profit on every trade he completed.

Given the government’s concession that it will not argue that profits on the trades at

issue in this case were actually Litvak’s profits, the court grants absent objection from

the government Litvak’s request that the government be barred from so arguing, but

denies Litvak’s request that the court preclude witnesses from using the phrase “his

profits” in their testimony. Like Litvak’s Motion in limine that sought to preclude

witnesses from stating that they understood Litvak to be working on their behalf, see

supra at 4, this request is, in essence, an attempt to limit the ability of lay witnesses to

testify, in their own words, to their own experiences and perceptions. The court

declines to police the language of the witnesses in this manner.



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        More specifically, the court finds that these statements may properly be part of

the government developing a “profit motive” for Litvak’s alleged crimes, and thus are

relevant under Rule 401. In this regard, the court notes—as the government points

out—that, at the first trial, Litvak’s supervisor at Jefferies, Johan Eveland (“Eveland”),

testified that the size of a Jefferies trader’s discretionary bonus was dependent, in part,

on the profitability of that trader’s trades. See Gov’t’s Compensation Opp. at 1-2 (Doc.

No. 388) (quoting Trial Tr. at 1932:2-1934:22).5 This testimony provided part of the

basis for the government’s argument that Litvak had a motive to increase the profitability

of his trades by making material misrepresentations to counterparties. In other words,

the government’s theory of Litvak’s profit motive was not that Litvak personally pocketed

every dollar of profit from his trades, but rather that, because the aggregation of the total

profits on all his trades was one factor6 in determining the size of Litvak’s discretionary

bonus, Litvak had an incentive to increase the profitability of any trade he could. If the

government pursues this same line of argument at this trial, evidence about “Litvak’s

profits”—i.e., the profitability of his trades—is relevant and therefore admissible under

Rule 401. Furthermore, in light of the government’s concession that it will not argue that

Litvak actually pocketed all of the profits from his trades, the prejudice to Litvak from




        5  Litvak also quotes Eveland’s testimony in his briefing on this Motion, noting that Eveland
testified that “it is impossible to link Mr. Litvak’s end-of-year compensation with any particular trade.”
Def.’s Compensation Mem. at 4 (Doc. No. 358-1) (emphasis added). Both Litvak’s representation of
Eveland’s testimony and the government’s representation of that same witness’s testimony are true:
Eveland testified both that it was impossible to link the size of a trader’s discretionary bonus to a
particular trade, and also that the size of a trader’s discretionary bonus was dependent, in part, on the
overall profitability of the trader’s trades. See Trial Tr. at 1951:6-1952:1. Clearly, Litvak’s conduct at
issue in this case increased the profitability of the trades to Jefferies, and thus to Litvak.
        6In fact, Eveland testified that “[p]rofitability was probably one of the more important factors, but
they were all important.” Trial Tr. at 1951:22-23.

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allowing witnesses to testify in the language they would normally use, even if that

language is technically inaccurate, is slight, if prejudice exists at all. Relatedly, any

possibility that the jury would be confused or misled by references to “Litvak’s profits”

can easily be remedied by cross-examination. For these reasons, the court concludes

that the probative value of the evidence outweighs the evidence’s potential to unfairly

prejudice Litvak, confuse the issues, or mislead the jury, and therefore deems the

evidence admissible pursuant to Rule 403.

       Finally, the court rejects Litvak’s contention that these statements should be

excluded under the Due Process Clause of the Fifth Amendment. Litvak’s Fifth

Amendment argument is tied to a single citation from a 1993 district court case in the

Southern District of New York in which the court noted that “the prosecutor may not

refer to evidence which will be inadmissible or unsupported at trial” during opening

arguments. Def.’s Compensation Mem. at 4 (Doc. No. 358-1). As the foregoing

analysis makes clear, the court’s view is that the evidence at issue, i.e., colloquial

references by witnesses to profits on trades as the trader’s profits, is admissible. On

this ground alone, Litvak’s due process argument fails.

       The second form of relief sought by Litvak in this Motion in limine is to “exclude

evidence about Mr. Litvak’s total compensation.” Def.’s Compensation Mem. at 6 (Doc.

No. 358-1). The court agrees with Litvak that the government has, to date, failed to

establish the relevance of the total amount of his compensation. The court also agrees

with Litvak that the admission of this evidence could be highly prejudicial to Litvak, as it

could “inflame the jury by appealing to class prejudice,” id., which is highly improper,

see United States v. Stahl, 616 F.2d 30, 32-33 (2d Cir. 1980). Thus, the court grants



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Litvak’s Motion in limine and excludes evidence of his total compensation under Rules

401 and 403 of the Federal Rules of Evidence. The court notes, however, that this

Ruling is without prejudice to the government renewing its attempt to introduce this

evidence, if the government can establish relevance and lay a proper foundation for the

evidence’s admission.

       D.     Government’s Motion in limine to Preclude Argument that the Government
              Failed to Use Certain Investigative Techniques (Doc. No. 367)

       The government has filed a Motion in limine seeking “an order precluding the

defendant . . . from introducing any evidence or argument concerning the Government’s

investigative techniques, including the timing of victim interviews.” Gov’t’s Mot. in limine

to Preclude Argument that the Gov’t Failed to Use Certain Investigative Techniques

(“Gov’t’s Investigative Techniques Mot.”) (Doc. No. 367). Litvak filed an Opposition to

the government’s Motion, see Jesse C. Litvak’s Opp. to Gov’t’s Mot. in limine to

Preclude Argument that the Gov’t Failed to Use Certain “Investigative Techniques”

(“Def.’s Investigative Techniques Opp.”) (Doc. No. 394), to which the government timely

replied, see Gov’t’s Reply Mem. in Supp. of its Mot. in limine to Preclude Argument that

the Gov’t Failed to Use Certain Investigative Techniques (“Gov’t’s Investigative

Techniques Reply”) (Doc. No. 415). The parties argued their respective positions on

this Motion during the oral argument held on June 16, 2016. See Minute Entry (Doc.

No. 430). For the reasons that follow, the court now grants in part and denies in part

the government’s Motion.

       As a starting point for deciding this Motion, the court will set forth two principles

of law. The first such principle is that the techniques the government uses to investigate

an alleged crime—or “the failure to utilize some particular technique or techniques”—

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“do[ ] not tend to show that a defendant is not guilty of the crime with which he has been

charged,” and therefore are generally not relevant in a criminal trial. United States v.

Saldarriaga, 204 F.3d 50, 53 (2d Cir. 2000). The second principle is that “[p]roof of

[witness] bias is almost always relevant because the jury, as finder of fact and weigher

of credibility, has historically been entitled to assess all evidence which might bear on

the accuracy and truth of a witness’ testimony.” United States v. Abel, 469 U.S. 45, 52

(1984). The parties do not dispute these principles. Instead, the parties’ briefing on this

Motion exposes a disagreement about whether certain categories of questions Litvak

wishes to ask are reasonably related to probing the possible bias of a witness, or

whether those questions are instead intended to cast aspersions on the investigative

techniques employed by the government in this case. While the former is clearly

permissible, the latter generally is not.

       Although ultimately the court will need to hear a specific question to ascertain

whether it is of the former or latter kind, the court will endeavor to provide some

guidance for the parties. At this time, the court believes that cross-examination

questions directed at government witnesses about the timing of their interviews with

government investigators and, in particular, questions directed at ascertaining whether

particular witnesses were interviewed by the government after the Indictment in this

case was returned, could be relevant to exploring possible witness bias. Such

relevance could be established by follow-up questions that, among other things, probe

the content of those interviews, including whether the witnesses were given information

or asked leading questions by the investigators, or questions that inquire whether the

witnesses had read or heard about Litvak’s case prior to their interviews. Relatedly,



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questions directed at the government’s investigators that seek to establish whether the

kinds of questions asked by the investigators tainted the perceptions and memories of

government witnesses are permissible because such questions are also directed at

exposing possible bias, not improperly commenting on the government’s investigative

techniques.7 These kinds of questions were permitted by the court, over the

government’s objection, at the last trial. See Trial Tr. at 1435:18-1441:2. The court

continues to believe, as explained above, that such questions are relevant, and

therefore admissible pursuant to Rule 401; to the extent such questions are misleading

or prejudicial, that effect is outweighed by the questions’ probative value, which means

they should not be excluded pursuant to Rule 403.

        For the foregoing reasons, the court grants in part and denies in part the

government’s Motion in limine regarding commentary on the government’s investigative

techniques. The government’s Motion is granted to the extent this Motion sought to

preclude Litvak from commenting on the sufficiency of the government’s investigation or

the specific techniques used. The government’s Motion is denied to the extent the

government sought to preclude Litvak from exploring the possibility that witnesses were

tainted by the government’s investigation—by lines of questioning in interviews that

occurred after the Indictment—because such questions ultimately go to the potential

biases of witnesses, not to the competence of the government’s investigation.




        7Of course, while the testimony of the agent as to what he said or did is admissible, the
testimony of an agent about what a witness said is likely hearsay.

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       E.     Government’s Motion in limine to Preclude Evidence or Argument Blaming
              Victims (Doc. No. 369)

       The government has filed a Motion in limine seeking “an order precluding the

defendant . . . from introducing evidence or arguing that victims defrauded in this case

were gullible or negligent in entering into fraudulent securities transactions with Litvak,

that any lack of reasonableness or due diligence by the victims provides a defense to

Litvak’s conduct, or that a reasonable investor would have detected Litvak’s fraud.”

Gov’t’s Mot. in limine to Preclude Evidence or Argument Blaming Victims (“Gov’t’s

Blaming Victims Mot.”) (Doc. No. 369). Litvak filed an Opposition to the government’s

Motion, see Jesse C. Litvak’s Opp. to the Gov’t’s Mot. in limine to Preclude Evidence or

Argument “Blaming Victims” (“Def.’s Blaming Victims Opp.”) (Doc. No. 397), to which

the government timely replied, see Gov’t’s Reply in Supp. of its Mot. in limine to

Preclude Evidence or Argument Blaming Victims (“Gov’t’s Blaming Victims Reply”)

(Doc. No. 406). The parties argued their respective positions on this Motion during the

oral argument held on June 16, 2016. See Minute Entry (Doc. No. 430). After the oral

argument, Litvak submitted a statement of supplemental authority, as requested by the

court. See Jesse C. Litvak’s Statement of Suppl. Authority in Supp. of his Opp. to the

Gov’t’s Mot. in limine to Preclude Evidence or Argument “Blaming Victims” (“Def.’s

Suppl. Authority re Blaming Victims”) (Doc. No. 428). For the reasons that follow, the

court now grants in part and denies in part the government’s Motion.

       As with the court’s analysis of the last Motion in limine, the court’s discussion of

this Motion will begin with the recitation of two principles of law about which the parties

are in agreement. The first is that a criminal defendant may not generally use as a

defense the foolishness or negligence of his chosen victim. See, e.g., United States v.

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Thomas, 377 F.3d 232, 243 (2d Cir. 2004) (“We refuse to accept the notion that the

legality of a defendant’s conduct would depend on his fortuitous choice of a gullible

victim.” (internal quotations and citation omitted)). The second is that whether a

misrepresentation was material for purposes of the securities laws must be judged by

an objective standard, from the perspective of a “reasonable investor.” Litvak, 808 F.3d

at 175, 184; Isola, 548 F. App’x at 725 (noting that “materiality is an objective question”).

Given that the government has represented that it will again seek to cast counterparty

victims as paradigmatic reasonable investors, these principles create a conundrum:

how can Litvak question whether the government’s witnesses are really “reasonable

investors” in the objective sense without suggesting that these witnesses are

themselves to blame for the fact that they were misled by Litvak’s alleged

misrepresentations?

       This Motion in limine was the subject of a long discussion at oral argument. At the

end of that discussion, it appeared that the parties were largely in agreement that the

answer to the question posed above is as follows: while Litvak may put on expert

testimony about what reasonable investors do, as well as cross-examine government

witnesses about what they actually did, he may not ask questions or make arguments

that suggest there are things the government witnesses should have done. While the

former line of argument may reasonably be part of Litvak’s efforts to demonstrate that the

government’s witnesses are not “reasonable investors,” and that their testimony that

Litvak’s alleged misrepresentations were important to them therefore fails to establish

materiality for purposes of the securities laws, the latter line of argument impermissibly

suggests that the government’s witnesses could have avoided the harm that purportedly



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befell them by taking additional actions. The court agrees with the parties that this is the

line that must be drawn pursuant to the principles of law outlined above, as well as Rules

401 and 403 of the Federal Rules of Evidence. In light of the foregoing, the court grants

the government’s Motion to the extent that Motion sought to preclude Litvak from offering

evidence or making argument about what government witnesses should have done, and

denies the Motion to the extent it sought to preclude Litvak from offering evidence or

making argument about what government witnesses did and reasonable investors do.

       F.     Government’s Motion in limine to Preclude Evidence Regarding Other
              Broker-Dealers (Doc. No. 372)

       The government has filed a Motion in limine seeking “an order precluding the

defendant . . . from introducing evidence or argument regarding events or practices at

broker-dealer firms other than Jefferies, absent some factual link to Litvak.” Gov’t’s Mot.

in limine to Preclude Evidence Regarding Other Broker-Dealers (“Gov’t’s Other Broker-

Dealers Mot.”) (Doc. No. 372). Litvak filed an Opposition to the government’s Motion,

see Jesse C. Litvak’s Opp. to Gov’t’s Mot. in limine to Preclude Evidence Regarding

Other Broker-Dealers (“Def.’s Other Broker-Dealers Opp.”) (Doc. No. 392), to which the

government timely replied, see Gov’t’s Reply Mem. in Supp. of its Mot. in limine to

Preclude Evidence Regarding Other Broker-Dealers (“Gov’t’s Other Broker-Dealers

Reply”) (Doc. No. 405). The parties argued their respective positions on this Motion

during the oral argument held on June 16, 2016. See Minute Entry (Doc. No. 430). For

the reasons that follow, the court now grants in part and denies in part the government’s

Motion.

       In their briefing and again at oral argument, the parties represented that the

evidence that is the subject of this Motion in limine falls into three categories: (1)

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evidence that counterparties knew they were being lied to by traders like Litvak, or that

counterparties “switched hats” from being investors to being broker-dealers and

themselves engaged in the kinds of misrepresentations Litvak allegedly made; (2)

evidence related to an “industry practice” of making misrepresentations of the kind

Litvak is alleged to have made to counterparties; and (3) evidence related to changes

companies in the industry made to their training and compliance programs after Litvak

was indicted. See Def.’s Other Broker-Dealers Opp. at 1-2 (Doc. No. 392); Gov’t’s

Other Broker-Dealers Reply at 2 (Doc. No. 405). Although the government has stated

that Litvak believes the aforementioned categories of evidence “somehow bear on

materiality or intent,” Gov’t’s Other Broker-Dealers Mot. at 1 (Doc. No. 372), Litvak

himself suggests that the evidence at issue is most relevant to the element of

materiality, see Def.’s Other Broker-Dealers Opp. at 3 (Doc. No. 392). The court will

consider each of these categories separately and in turn.

        The first category of evidence primarily relates to statements by government

witnesses that tend to suggest they were aware of, and did not care about,

misrepresentations of the kind allegedly made by Litvak.8 This evidence is highly

relevant to the question of whether Litvak’s alleged misrepresentations would have

been material to a reasonable investor, and is therefore admissible under Rule 401.

This evidence is also significantly more probative than prejudicial, confusing, or

misleading, and therefore should not be excluded under Rule 403. At oral argument,




          8 It bears emphasizing that this analysis is predicated on the assumption that the evidence at

issue will show that the government witnesses knew or suspected they were being lied to, and indicated
in some manner that that fact was not important or significant to them. Evidence that shows simply that
Litvak or other traders lied to the counterparties or similarly situated individuals on other occasions does
not fall within the scope of this analysis; such evidence falls within “category two,” discussed infra at 26.

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the parties appeared largely to agree that this evidence should be admitted for the

reasons described above.

       The second category of evidence relates to the “industry practice of making

misrepresentations to customers about price.” Def.’s Other Broker-Dealers Opp. at 2

(Doc. No. 392) (quoting the government). In his briefing, Litvak appears to suggest that

this evidence is comprised of “[f]act testimony from some of the investors interviewed by

the government” that “they were aware of the ‘industry practice’” of making

misrepresentations of the kind charged in Litvak’s Indictment. Id. If this is, in fact, all

the evidence that Litvak wishes to offer of an industry practice, the court would admit

this evidence for the reasons described in the analysis with respect to the first category

of evidence at issue in this Motion: the court concurs with Litvak that evidence that

investors similarly situated to the counterparties in this case were aware that traders

similarly situated to Litvak made misrepresentations of the kind Litvak is alleged to have

made and were indifferent to that fact (or discounted the information provided by traders

on that basis) is relevant to the materiality of the misrepresentations charged in the

Indictment. This is because, as noted at multiple points above, materiality is judged by

an objective standard, from the perspective of a reasonable investor. See Litvak, 808

F.3d at 175, 184. Fact testimony from other investors that they were aware of, and did

not care about, misrepresentations like the ones charged in the Indictment could tend to

show that an objective, reasonable investor would not view such misrepresentations as

material. Any possibility that information about investors other than the counterparties

in this case could confuse the issues or mislead the jury is outweighed by the probative




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value of the information discussed. For these reasons, this evidence is admissible

under Rule 401 and is not amenable to exclusion under Rule 403.

        However, the government appears to think that, notwithstanding Litvak’s

representations in his briefing, the evidence Litvak seeks to introduce under the

auspices of “category two” is not limited to evidence that other investors were aware of,

and were indifferent to, misrepresentations of the kind charged in the Indictment. In its

briefing, the government suggests that Litvak will seek to introduce evidence about

actions and events at firms other than Jefferies. See Gov’t’s Other Broker-Dealers Mot.

at 2 (Doc. No. 372). In other words, the government appears to think that Litvak may

attempt to introduce evidence that other broker-dealers similarly situated to Litvak at

companies other than Jefferies made the same kinds of misrepresentations Litvak is

alleged to have made. To the extent Litvak made any argument about the relevance of

such evidence in his briefing or at oral argument on this Motion, his response would

appear to be that evidence of an “industry practice” as established by testimony

regarding the actions of other broker-dealers is relevant because the fact that the whole

industry engaged in these kinds of misrepresentations makes it less likely that

reasonable investors would rely on this information.

        The problem with Litvak’s argument is that he skips a necessary, logical step:

the fact that many (or all) RMBS broker-dealers engaged in the kinds of

misrepresentations charged in the Indictment does not affect the likelihood of a

reasonable investor viewing those misrepresentations as material9 (or immaterial)



        9 This section discusses the question of whether evidence of the kind described above is relevant
to materiality, because Litvak has represented that materiality is the element of securities fraud to which
this evidence relates. However, some of this evidence could also, at least arguably, be relevant to the

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unless investors were aware that traders made these kinds of misrepresentations. Put

another way, the fact that people in Litvak’s position regularly lied does not tend to

make it more likely that objective, reasonable investors viewed those lies as immaterial

unless there is also reason to believe those same reasonable investors were aware the

lies were happening. For this reason, the court will exclude as irrelevant under Rule

401 evidence that broker-dealers at firms other than Jefferies regularly engaged in

misrepresentations of the kind charged in the Indictment unless the defense can

connect those misrepresentations to knowledge by investors.

        Even if statements by other broker-dealers that they regularly engaged in the

kinds of misrepresentations charged in the Indictment were relevant within the meaning

of Rule 401, however, the court would exclude that evidence as confusing, misleading,

and prejudicial under Rule 403. At the end of the day, this case is about Jesse Litvak.

It is not a trial of the entire RMBS industry, and while some evidence about the RMBS

industry is relevant and not outweighed by Rule 403 factors, not all evidence about the

RMBS market is such. There is little probative value to evidence that tends to show that

the whole RMBS industry engaged in the kind of conduct for which Litvak has been

indicted (again, absent some showing that investors were aware of the fact that broker-

dealers regularly engaged in this conduct), and the presentation of this evidence bears




element of intent. See Litvak, 808 F.3d at 188-190 (stating that evidence that Litvak’s supervisors were
aware other broker-dealers at Jefferies engaged in the kind of conduct charged in the Indictment could
support an argument that Litvak lacked intent to defraud). To the extent that Litvak will seek to introduce
evidence of the conduct of broker-dealers at companies other than Jefferies to support an argument that
he lacked an intent to defraud, the court would likely find that evidence to be marginally relevant within
the meaning of Rule 401. However, given that the probative value of evidence of the conduct of broker-
dealers at firms other than Jefferies—if there is no evidence that Litvak was actually aware of this
conduct—appears exceedingly slight, and the risk that the introduction of this evidence will cause undue
delay, confuse the issues, mislead the jury, and prejudice the government is high, see discussion infra at
29-30, the court would exclude this evidence under Rule 403.

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an enormous risk of confusing and misleading the jury with respect to the task before

them. The introduction of such evidence would also prejudice the government and

cause undue delay because, as the government notes, it will be forced to litigate “a ‘trial

within a trial’ with regard to other traders’ fraudulent conduct.” Gov’t’s Other Broker-

Dealers Reply at 4 (Doc. No. 405). For all of these reasons, the court concludes that

the probative value of evidence that there was an “industry practice”10 of making the

kinds of misrepresentations charged in the Indictment is “substantially outweighed” by

the risk that evidence will cause “unfair prejudice, confus[e] the issues, mislead[ ] the

jury, [cause] undue delay, [and] wast[e] time,” Fed. R. Evid. 403, and therefore will

exclude that evidence.

        The third category of evidence relates to “changes that dealers have made to

training and compliance programs in recent years in response to the charges the

government filed in this case.” Def.’s Other Broker-Dealers Opp. at 2 (Doc. No. 392).

Litvak has represented that two of his experts “may opine about these changes,”

including “changes in compliance programs that have been reported about in

connection with the Nomura case.” Id. At oral argument, Litvak contended that this

evidence is relevant because it tends to show that the kinds of misrepresentations

charged in the Indictment weren’t viewed as being significant by people in the industry

until Litvak was indicted. According to Litvak, the fact that these kinds of training and



        10  At oral argument, Litvak expressly disavowed any intention to raise an “everybody did it”
defense, which means that this Ruling should have little bearing on Litvak’s trial strategy. As the text of
this section should make clear, the court has endeavored to draw a line between evidence that could be
relevant to materiality or intent (e.g., evidence that Jefferies had a standard operating procedure of
condoning conduct like Litvak’s, or evidence that investors were aware that broker-dealers regularly
engaged in such conduct) with evidence that is only relevant to a defense based on the alleged fact that
many other broker-dealers engaged in this conduct, too (i.e., evidence that other broker-dealers regularly
lied to investors).

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compliance programs were established after Litvak’s Indictment is relevant to the

question of whether misrepresentations like the ones charged in the Indictment were

viewed by people in the industry as being material before Litvak’s Indictment. For

substantially the same reasons articulated in connection with the court’s analysis of

“category two” evidence, the court disagrees.

       As noted in the preceding section, the court does not view the actions and beliefs

of other broker-dealers similarly situated to Litvak to be relevant within the meaning of

Rule 401 on the element of materiality, because that element does not ask what kinds

of statements an objective, reasonable broker-dealer would view as being material, but

rather what an objective, reasonable investor would view as being material. Thus,

evidence that tends to show that other broker-dealers also engaged in the kind of

conduct alleged in Litvak’s Indictment—whether that evidence takes the form of direct

testimony from other broker-dealers or the more attenuated form of evidence about

compliance programs instituted by these companies after Litvak was indicted—is simply

not relevant unless accompanied by evidence that investors were aware of these

misrepresentations. Thus, the court will exclude this evidence under Rule 401.

       Even if this evidence was marginally relevant, however, the court would exclude

it under Rule 403. Evidence about compliance programs instituted after Litvak was

indicted at firms other than Jefferies is disconnected both factually and temporally from

the conduct at issue in this lawsuit. Its probative value, if any, is marginal. But this

same evidence carries a high risk of confusing the issues, misleading the jury, and

causing delay, for the reasons explained above with respect to “category two” evidence.




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Because the probative value of the evidence is substantially outweighed by these other

factors, the court will also exclude the evidence pursuant to Rule 403.

       In sum, the government’s Motion in limine is granted in part and denied in part.

The Motion is denied to the extent the government sought to preclude evidence related

to whether counterparty witnesses or investors similarly situated to counterparty

witnesses viewed misrepresentations like the ones charged in the Indictment as

material. Some of this evidence may bear on whether there was an “industry practice”

of broker-dealers making the kinds of misrepresentations charged in the Indictment, but

again, such evidence must come from the perspective of investors, given that the

element of materiality is assessed from the perspective of an objective, reasonable

investor. The Motion is granted to the extent the government sought to preclude

evidence related to misrepresentations by other broker-dealers at companies other than

Jefferies, so long as this evidence is not either (1) factually connected to Litvak (i.e., that

he was aware of these misrepresentations in a way that could bear on the element of

intent), or (2) supported by evidence that specific investors were aware of these

misrepresentations (which could be relevant to the element of materiality).

III.   CONCLUSION

       For the foregoing reasons, the court grants in part and denies in part the pending

Motions in limine as follows:

       Litvak’s Agent/Broker Motion (Doc. No. 356) is GRANTED IN PART and

DENIED IN PART. The government will not be permitted to offer evidence or argument

intended to show that, as a matter of fact and law, Litvak was actually the agent of his

counterparties, but the government’s witnesses are permitted to testify, on the basis of



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their experiences and perceptions, that they understood Litvak to be working on their

behalf, even if they use the word “agent” in a colloquial sense as part of that testimony.

Similarly, and consistent with industry practice, the government’s witnesses will be

permitted to refer to Litvak as a “broker.”

       Litvak’s Investor Identity Motion (Doc. No. 357) is GRANTED IN PART and

DENIED IN PART. The government will not be permitted to refer to “taxpayer money”

or “taxpayer funds,” but the court will not exclude all evidence about the identity of

investors in counterparty funds. Relatedly, the court directs that those portions of the

Indictment the parties agree should be stricken, as well as the text of the dismissed

counts, be removed from the Indictment. The parties are directed to docket a revised

Indictment that reflects the changes mandated by this Ruling within fourteen (14) days.

       Litvak’s Compensation Motion (Doc. No. 358) is GRANTED IN PART and

DENIED IN PART. The government will not be permitted to argue that the profits on

trades Litvak made went directly into his pockets, but government witnesses will not be

precluded from referring to profits on trades as “Litvak’s profits,” if that is the way in

which people in the industry speak. In addition, the government will not be permitted to

offer evidence of Litvak’s total compensation unless the government can establish the

relevance of that evidence, which, to date, it has failed to do.

       The government’s Investigative Techniques Motion (Doc. No. 367) is GRANTED

IN PART and DENIED IN PART. Litvak will not be precluded from asking government

witnesses about the government’s investigation so long as those questions are related

to efforts to expose potential bias. Litvak will not be permitted to ask questions that




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directly bear on the adequacy of the government’s investigation or the specific

techniques used.

       The government’s Blaming Victims Motion (Doc. No. 369) is GRANTED IN PART

and DENIED IN PART. Litvak will be permitted to present expert testimony about what

reasonable investors do, as well as cross-examine government witnesses about what

they did. Litvak will be precluded from offering any evidence or making any argument

that there was more that counterparties should have done, or otherwise suggesting that

any harm caused by Litvak’s alleged actions is attributable to the negligence or

foolishness of his purported victims.

       The government’s Other Broker-Dealers Motion (Doc. No. 372) is GRANTED IN

PART and DENIED IN PART. Litvak will be permitted to introduce evidence related to

the understandings and beliefs of investors, whether those investors were actually

counterparties to Litvak’s trades or merely similarly situated to those parties. Litvak will

be precluded from introducing evidence that other broker-dealers regularly engaged in

the kind of conduct charged in the Indictment, both in the form of direct testimony from

such broker-dealers and in the form of reports on compliance measures instituted by

broker-dealer companies other than Jefferies after Litvak’s Indictment in this case.

       SO ORDERED.

       Dated at New Haven, Connecticut, this 28th day of June, 2016.


                                                  _/s/ Janet C. Hall________
                                                  Janet C. Hall
                                                  United States District Judge




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